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                Exhibit B
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10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13
14 UNITED STATES OF AMERICA,                          ) Case No. CR 22-00270 WHO
                                                      )
15           Plaintiff,                                 REBUTTAL EXPERT REPORT OF PATRICK
                                                      ) FORD
16      v.                                            )
                                                      )
17                                                    )
     JOHN FRANCIS PORTER                              )
18                                                    )
             Defendant.
19
20
21           I am voluntarily appearing on behalf of the United States in the above-captioned matter. I submit
22 this expert rep01t on Fed. R. Crim P. 16 regarding my proposed testimony as a rebuttal witness.
23      I. Qualifications
24       1. My opinions are based on years of experience, primarily in San Francisco, California, working on
25 ssues of law and government ethics.
26      2. I am ctmently the Director of Enforcement for the San Francisco Ethics Commission. The Ethics
27   ommission is a nonpartisan regulat01y agency that administers laws concerning government ethics,
28   ampaign finance, lobbying, and other related subject matters. The Commission was created by the

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